           Case 2:18-cv-05269-TJS Document 75 Filed 07/14/22 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER GOODWIN                        :      CIVIL ACTION
                                           :
      v.                                   :
                                           :
JOHN E. WETZEL, ROBERT GILMORE,            :
THE DISTRICT ATTORNEY OF THE               :
COUNTY OF PHILADEPHIA and THE              :
ATTORNEY GENERAL OF THE                    :
STATE OF PENNSYLVANIA                      :      NO. 18-5269


                                       ORDER

      NOW, this 12th day of July, 2022, upon consideration the Amended Petition for

Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2254 (Doc. No. 22) and the response to

the Amended Petition, the Third Amendment and Supplement to Petition for Writ of

Habeas Corpus (Doc. No. 72), the response to the Amendment, the Report and

Recommendation filed by United States Magistrate Judge Lynne A. Sitarski (Doc. No.

74), and no objections to the Report and Recommendation having been filed, and after a

thorough and independent review of the record, it is ORDERED that:

      1.      The Report and Recommendation of Magistrate Judge Lynne A. Sitarski is

APPROVED and ADOPTED;

      2.      The petition for writ of habeas corpus is CONDITIONALLY GRANTED with

respect to petitioner’s claim that the Commonwealth violated Brady v. Maryland, 373 U.S.

83 (1963);

      3.      Unless the Commonwealth retries the petitioner within 180 days, the

petitioner’s conviction in Commonwealth v. Goodwin, No. CP-51-CR-0012214-2011, will

be VACATED;
           Case 2:18-cv-05269-TJS Document 75 Filed 07/14/22 Page 2 of 2




      4.      The time limit within which the Commonwealth may retry the petitioner may

be extended by agreement of the parties or upon a showing of reasonable cause.




                                               /s/ TIMOTHY J. SAVAGE J.
